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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

ELIZABETH GOLDSMITH,                          §
                                              §
               Plaintiff,                     §    Civil Action No. 6:18-cv-01178-CEM-DCI
                                              §
               v.                             §
                                              §
KEISER UNIVERSITY,                            §
                                              §
               Defendant.                     §
                                              §
                                              §


                                 NOTICE OF SETTLEMENT

       TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

settlement. The parties anticipate filing a stipulation of dismissal of this action with prejudice

pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



                                              RESPECTFULLY SUBMITTED,

  DATED: March 1, 2019
                                             By: /s/ Amy L. Bennecoff Ginsburg
                                                 Amy L. Bennecoff Ginsburg, Esq.
                                                 Kimmel & Silverman, P.C.
                                                 30 E. Butler Avenue
                                                 Ambler, PA 19002
                                                 Tel: 215-540-8888
                                                 Fax: 215-540-8817
                                                 aginsburg@creditlaw.com

                                                  Attorney for the Plaintiff
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                               CERTIFICATE OF SERVICE

              I, Amy L. Bennecoff Ginsburg, Esquire, do certify that I served a true and correct

copy of the Notice of Settlement in the above-captioned matter, upon the following via CM/ECF

system:

                                       Justin C. Sorel
                                 Cole, Scott & Kissane, PA
                                     Esperante Building
                                222 Lakeview Ave Ste 120
                              West Palm Beach, FL 33401-6146
                                    Phone: 561/383-9229
                                     Fax: 561/683-8977
                              Email: justin.sorel@csklegal.com
                                  Attorneys for Defendant


Dated: March 1, 2019                By: /s/ Amy L. Bennecoff Ginsburg
                                            Amy L. Bennecoff Ginsburg, Esq.
                                            Kimmel & Silverman, P.C.
                                            30 E. Butler Avenue
                                            Ambler, PA 19002
                                            Tel: 215-540-8888
                                            Fax: 215-540-8817
                                            aginsburg@creditlaw.com
